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AU 245D      (Rev 09/I1) JLIdRrn,'Tlt in a Criminal Case For Revocations
             Sheet I



                                      UNITED STATES DISTRICT COURT
                                                            Middle District of Alabama

          UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                              V.                                           (For Revocation of Probation or Supervised Release)
            ALFRED BERNARD JONES

                                                                           Case No. 1 :08cr236-09-MHT
                                                                            USM Na. 12608-002
                                                                            Donnie W. Bethel
                                                                                                      Defendant's Attorney
THE DEFENDANT:
    admitted guilt to violation of condition(s)            14 of the petition                of the term of supervision. Filed on 5/3/2016.
D was found in violation ofcoridition(s)                                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                              Nature of Violation                                        Violation Ended


1- 3                               The defendant has committed another federal, state or local                       04/29/2016

                                   crime.

4                                  The defendant unlawfully possessed a controlled substance.                        04/29/2016

       The defendant is sentenced as provided in pages 2 through                 4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 194,
    The defendant has not violated condition(s)                                  and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until       fines, restitution, costs, and special assessments imposed by this judgment are
fully'paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances,

Last Four Digits of Defendant's Soc. Sec. No.: 5600                         09/27/2016
                                                                                                 Date of Imposition of Judgment
Defendant's Year of Birth:            1974
                                                                           Is! Myron H. Thompson                                  -m--....
City and State of Defendant's Residence:                                                     Signature of Judge
Enterprise, AL
                                                                                MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                                                    Name and Title of Judge

                                                                            10/12/2016
                                                                                                                  Date
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  AO 245D        (Rev. 09/11) Judgment in a Criminal Case lou Revocations
                 Sheet 2— lnsprisonmeni

                                                                                                        .hdgnienE - Page   2   or   4
  DEFENDANT: ALFRED BERNARD JONES
  CASE NUMBER: 1 :08cr239-09-MHT


                                                                     IMPRISONMENT


            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  term ol
60 Months. The term of supervised release imposed on September 18, 2009, is hereby revoked.




            The court makes the following recommendations to the Bureau of Prisons:

The court recommends that the defendant be designated to a facility where alcohol and drug treatment is available.




            The defendant is remanded to the custody of the United States Marshal,

       E The defendant shall surrender to the United States Marshal for his district:
            E at                                        0 a.m.         E p.m.    on
            0 as notified b y the United States Marshal.

            The defendant shall surrender Fr service of senlerice at the institution designated by the Bureau of Prisons:
                   before 2 p.m. on
            El as notified by the United States Marshal,
            El     as notified by the Probation or Pretrial Services Office,

                                                                            RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                           to

  at                                                      with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                                By
                                                                                                  DEPUTY UNITED STATES MARSHAL
               Case 1:08-cr-00236-MHT-CWB Document 520 Filed 10/12/16 Page 3 of 4


  AO 24) 1)     (Rev 09111) Judgment in a Criminal Case for Revocations
                Sheet 3—Supervised Release

                                                                                                       Judgment—Page      3    or         4
  DEFENDANT: ALFRED BERNARD JONES
  CASENUMBER: 1:08cr239-09-MHT
                                                               SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 Years.



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfull y possess a controlled substance. The defendant shall refrain fromany unlawfu' use of controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  El    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works.
        or is a student, as directed by the probation officer. (Check. if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is he a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION

   I)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)          the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
              of 3 Leer;
  4)          the defendant shall support his or her dependents and meet other family responsibilities;
  5)          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training.
              or other acceptable reasons:
  6)          the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
              the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)          the defendant shall not associate with any persons engaged in criminal activit y and shall not associate with any person
              convicted of a felony, unless granted permission to do so by the probation officer;
  10)         the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
              confiscation of any contraband observed in plain view of the probation officer:
  11)         the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
              enforcement otticer;
  12)         the defendant shall not enter into any agreement to act as an informer or a special agent of a law cnfdrcemcnt agency
              without the permission of the court: and
  13)         as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
              defendant's criminal record or personal history or characteristics and shalt permit the probation officer to make such
              notifications and to confirm the defendant's compliance with such notification requirement.
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 AO 245D    (Rev, 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release

                                                                                         Judgnscnl—Page   4    of       4
 DEFENDANT: ALFRED BERNARD JONES
 CASE NUMBER: I :08cr239-09-MHT

                                             SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
may include testing to determine whether he has reverted to the use of drugs. The defendant shall contribute to the cost of
any treatment based on his ability to pay and the availability of third-party payments.

2. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
court.
